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UNITED STATES DISTRICT COURT
                                                        ORIGINAL
SOUTHERN DISTRICT OF NEW YORK
                                         X
                                                SUPERSEDING INDICTMENT
 UNITED STATES OF AMERI~A
                                                Sl 20 Cr . 468 (RMB)
            -   V.    -


 ROBERT HADDEN,

            Defendant.

                 --------                X


          The Grand Jury charges:

                                    OVERVIEW

          1.         As set forth herein, over more than a decade, ROBERT

HADDEN, the defendant, sexually abused dozens of female patients,

including multiple minors, under the guise of conducting purported

gynecological        and   obstetric · examinations      at    HADDEN ' s   medical

offices and at hospitals in Manhattan, New York.

          2.         In particular,   from at least in or about 1993 , up

to and including at least in or about 2012,                   ROBERT HADDEN,    the

defendant, enticed and induced multiple victims to travel to his

medical offices in New York, at least in part for the purpose of

subjecting them to unlawful sexual abuse.              HADDEN used his position

as a medical doctor at a prominent university (the "University")

to make or to attempt to make his victims believe that the sexual

abuse he inflicted on them was appropriate and medically necessary.

HADDEN encouraged his          victims   to   return    to    see   him and often

directed his victims to schedule follow-up visits on timelines he
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set.   As a result, some of his victims attended many appointments

with HADDEN over the course of multiple years,                   at which HADDEN

repeatedly abused them.

             3.     As a part and in furtherance of his scheme, ROBERT

HADDEN,     the   defendant,    enticed,       induced,    and   caused   multiple

victims to return to appointments with him to be further sexually

abused, knowing that in order to do so many of his victims would

travel to HADDEN's offices in Manhattan, New York, from or through

other states.

                               FACTUAL BACKGROUND

             4.     At all   times     charged in this         Indictment,   ROBERT

HADDEN,     the defendant,     was a medical doctor who worked at               the

University.       In particular, between at least in or about 1993 and

in     or         about      2012,        HADDEN         was      a    practicing

obstetrician/gynecologist            ( "OB/GYN")   who    maintained offices     at

University-affiliated hospitals and medical offices in Manhattan,

New York.

             5.     Between at least in or about 1993 and in or about

2012, ROBERT HADDEN, the defendant, abused dozens of his patients,

including multiple minors.            HADDEN did so through a process that

entailed developing a relationship with his victims and causing

them to trust him,        before engaging in a course of increasingly

abusive conduct, which HADDEN attempted to mask under the guise of

legitimate medical care.



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              6.      In    particular,     ROBERT      HADDEN,    the     defendant,

typically used the following means and methods, among others, to

facilitate his abuse:

                      a.     Al though nurses and assistants were present

for    portions     of     HADDEN's   appointments       with     patients,    HADDEN

frequently created opportunities to be alone with his victims.

Among other things,          HADDEN invited his victims to meet with him

alone in his office, sent nurses and medical assistants out of the

examination room for periods of time, and/or intentionally failed

to    tell   nurses    and medical        assistants when he was          going   into

examination rooms, so that he could be alone with his victims.

                      b.     Once alone with his victims, HADDEN attempted

to develop a rapport with them and put them at ease by asking them

questions about their personal lives and telling them about his

own life and family.

                      c.     During these conversations, HADDEN frequently

brought up inappropriate and medically irrelevant sexual topics

without prompting from his patients.                   For example,      HADDEN asked

many of his victims detailed, inappropriate questions about their

own sexual activities and sexual partners.                   HADDEN also offered

unsolicited        advice     to   some    of    his    victims    regarding      such

inappropriate subjects as how to groom their pubic hair and how to

masturbate     or     have    orgasms.      In   some    instances,      HADDEN   made

sexualized comments about his victims' physiques.



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             7.     After developing or attempting to develop a rapport

with his victims,        ROBERT HADDEN,         the defendant,         then began to

engage in a course of physical sexual abuse of his victims under

the guise of providing medical advice and/or medical care.                          He did

so by, among other things, engaging in the following conduct, which

in the case of many victims became increasingly abusive over time:

                    a.    HADDEN      conducted           excessively        long      and

sexualized breast exams on many of his victims.                 In some instances,

HADDEN    conducted      two   breast      exams     on   a   victim    in    the     same

appointment,      conducting the          second breast exam typically after

ensuring that no one else was present in the room with HADDEN and

the victim.       Some of      these breast exams included,              among other

things,    HADDEN    caressing       or    groping    a    victim's     breasts,       and

pinching, twisting, or otherwise manipulating a victim's nipples.

                    b.    HADDEN conducted inappropriate "mole checks"

on some of his victims during which his victims were fully nude at

HADDEN's direction.        HADDEN used these "mole checks" as an excuse

to reposition a victim while she was fully nude,                      and to touch a

victim's breasts,        buttocks,    and/or genitals for HADDEN's sexual

gratification.       When HADDEN conducted a full-body mole check on a

victim, HADDEN ensured that no one else was in the room with HADDEN

and the victim.

                    c.    HADDEN conducted pelvic exams on some of his

victims during which HADDEN used his hands to touch a victim's



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clitoris,        labia,   vagina,        and/or      anus    without     a     valid medical

purpose.     In many of these instances, HADDEN ensured that no one

else was in the room with HADDEN and the victim.

                     d.      On multiple occasions, HADDEN conducted pelvic

exams on victims during which HADDEN licked a victim's vagina.

When HADDEN licked a victim's vagina, he ensured that no one else

was in the room with HADDEN and the victim.

             8.      Through this process, ROBERT HADDEN, the defendant,

sexually     abused       dozens        of    victims,      including        multiple       minor

victims,    over many years.                 Those victims'       experiences included,

but were not limited to,                HADDEN touching a victim's breasts and

nipples,     touching        a    victim's          buttocks,     touching          a    victim's

genitals,        digitally       penetrating          a    victim's      genitals,         and/or

licking a victim's genitals - all without a valid medical purpose.

             9.      ROBERT HADDEN,            the defendant,         frequently targeted

victims who were young and thus unlikely to have much,                                    if any,

experience with OB/GYNs prior to meeting HADDEN.                         For many victims,

HADDEN was their first gynecologist,                       and for others, HADDEN was

their doctor during their first pregnancy.                          In so doing,           HADDEN

intentionally targeted victims who would not know what to expect

during     their     exams       with    HADDEN,      or    who   were       less       likely    to

challenge HADDEN when he made                    them feel        uncomfortable.             As    a

result,     although      some     victims       immediately        identified           HADDEN's

conduct     as    abusive        and    never       returned,     many    of    his       victims



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continued returning to see HADDEN,               sometimes for multiple years,

before     realizing     that      his    examinations     were     inappropriate,

medically unnecessary, and sexually abusive.

              10.   To   ensure    that    he   could    continue   to   abuse    his

victims, ROBERT HADDEN, the defendant, took various steps to cause

and entice his victims to return to see him, knowing that certain

of his victims would have to travel from or through other states

to attend appointments with him,               including appointments at which

HADDEN sexually abused those victims .              HADDEN enticed some of his

victims to travel into New York from or through other states by

using a number of means and methods, including but not limited to

the following:

                    a.    HADDEN     selected     how   frequently    and   when    a

victim would have her appointments with him,                   typically directing

the victim to schedule a follow up appointment at a particular

time interval, and thereby causing the victim to travel interstate

for her appointments.         In some instances, HADDEN directed victims

to   return    at   shorter       intervals     that    were    inconsistent     with

legitimate medical care.

                    b.    HADDEN used access to birth control to entice

victims to travel into New York for appointments.                    For example,

HADDEN would provide a victim with free birth control,                      thereby

enticing her to return for future appointments to obtain additional

free birth control.       In other instances, HADDEN would only provide



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a   victim with enough birth               control         to   last    a   few months     and

required the victim to return for multiple appointments in a single

year in order to obtain more birth control.

                     c.         Through conversations with the victims and a

review of their medical files,                  among other ways,            HADDEN knew at

the time he caused and enticed his victims to return that certain

of his victims would travel from or through a state other than New

York to attend their appointments with HADDEN in Manhattan.

                                   INDIVIDUAL VICTIMS

             11.     Among       the   dozens       of   victims       sexually abused by

ROBERT     HADDEN,        the    defendant,         were    a    minor      female     patient

identified herein as              Minor Victim-1           and adult        female    patients

identified     herein       as     Victim-1,        Victim-2,      Victim-3,         Victim-4,

Victim-5, and Victim-6.             In particular, and during periods relevant

to this Indictment,             HADDEN engaged in the following acts,                    among

others, with respect to these victims:

                                       Minor Victim-1

             12.     Minor Victim-1 was a patient of ROBERT HADDEN, the

defendant, from at least in or about 2010 up to and including in

or about 2012.        During the entire time Minor Victim-1 saw HADDEN

as a patient, Minor Victim-1 lived in a state outside of New York.

As a result, Minor Victim-1 traveled from out of state into New

York for appointments with HADDEN.                   HADDEN knew that Minor Victim-

1 traveled from another state to New York for her appointments.



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               13.   ROBERT    HADDEN,    the       defendant,         knew       that   Minor

Victim-1 was under the age of 18 at the time of her appointments

with him, in part because HADDEN had delivered Minor Victim-1 at

birth.     As Minor Victim-1 approached and entered puberty, HADDEN

repeatedly       encouraged    Minor     Victim-l's           parent    to    bring      Minor

Victim-1       in for appointments with HADDEN.                  As a        result,     Minor

Victim-1       traveled   to   New     York       for   the    purpose       of    attending

appointments with HADDEN on multiple occasions.

               14.   During    these     appointments,           ROBERT       HADDEN,      the

defendant,      repeatedly sexually abused Minor Victim-1                          through a

course    of    conduct   that   lacked any valid medical                     purpose.     For

example,    during one appointment with Minor Victim-1,                            after the

nurse left the room, HADDEN instructed Minor Victim-1 to position

herself on her hands and knees on an exam table while fully nude.

HADDEN then purported to examine her vagina and vaginal area.

               15.   During multiple appointments with Minor Victim-1,

ROBERT HADDEN, the defendant, conducted breast exams during which

HADDEN groped Minor Victim-l's breasts and pinched her nipples.

               16.   During one appointment with Minor Victim-1, ROBERT

HADDEN, the defendant, conducted a vaginal exam during which HADDEN

digitally penetrated Minor Victim-1 and intentionally touched her

G-spot.




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                                      Victim-1

             17.   Victim-1    was     a   patient   of   ROBERT   HADDEN,   the

defendant,    from at least in or about 2000 up to and including in

or about 2012.      In or about 2005, Victim-1 moved to a state outside

of New York,       where she lived for the remainder of her time as

HADDEN's patient.      After leaving New York, Victim-1 traveled from

out of state into New York for appointments with HADDEN.                 HADDEN

knew that Victim-1 traveled from another state to New York for her

appointments.

             18.   After many of Victim-l's appointments between 2005

and 2012, ROBERT HADDEN, the defendant, directed Victim-1 to return

for her next appointment and provided Victim-1 with instructions

on when to return.       As a result, Victim-1 continued to travel to

New York for the purpose of attending appointments with HADDEN on

multiple occasions.

             19.   During     these    appointments,      ROBERT   HADDEN,   the

defendant, repeatedly sexually abused Victim-1 through a course of

conduct that lacked any valid medical purpose.                For example,    in

the majority of appointments with Victim-1, HADDEN conducted two

breast exams.      During the exams, HADDEN pulled on and manipulated

Victim-l's nipples.

             20.    In or about 2012, Victim-1 traveled from the state

of her residence to New York at the direction of ROBERT HADDEN,

the defendant .     Victim-1 traveled to New York exclusively for that



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appointment        with    HADDEN.            During   that     appointment,      HADDEN

administered a vaginal exam,                  during which he licked Victim-1' s

vagina.

                                         Victim-2

             21.    Victim-2       was    a     patient    of   ROBERT     HADDEN,    the

defendant, from at least in or about 1993 up to and including in

or about 2012.            Beginning at least in or about 1997,                  Victim-2

resided outside of the state of New York, where she lived for the

remainder of her time as HADDEN's patient.                      As a result, between

approximately 1997 and 2012, Victim-2 traveled from out of state

into New York for appointments with HADDEN.                        HADDEN knew that

Victim-2     traveled       from     another       state   to    New     York   for   her

appointments.

             22.    After many of Victim-2's appointments between 1997

and 2012, ROBERT HADDEN, the defendant, directed Victim-2 to return

for her next appointment and provided Victim-2 with instructions

on when to return.         As a result, Victim-2 traveled to New York for

the purpose of        attending appointments with HADDEN on multiple

occasions.

             23.    During     these      appointments,         ROBERT     HADDEN,    the

defendant, repeatedly sexually abused Victim-2 through a course of

conduct that lacked any valid medical purpose.                         For example,    in

the majority of appointments with Victim-2, HADDEN conducted two

breast exams.        HADDEN usually conducted the first breast exam in



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the presence of a nurse, but he conducted the second breast exam

when he was alone with Victim-2.                During the second breast exam at

each appointment, HADDEN groped Victim-2's breasts and manipulated

her nipples.

                                        Victim-3

             24.     Victim-3     was     a    patient      of   ROBERT   HADDEN,     the

defendant, from at least in or about late 2011 up to and including

in or about 2012.       In or about 2012, Victim-3 moved outside of the

state of New York, where she lived for the remainder of her time

as HADDEN's patient.            After leaving New York, Victim-3 remained

HADDEN's patient and traveled from out of state into New York for

appointments with HADDEN.            HADDEN knew that Victim-3 traveled from

another state to New York for her appointments.

             25.     After    many   of       Victim-3' s    appointments      in   2012,

ROBERT HADDEN, the defendant, directed Victim-3 to return for her

next appointment and provided Victim-3 with instructions on when

to return.         As a result,      Victim-3 traveled to New York for the

purpose   of       attending     appointments         with       HADDEN   on   multiple

occasions.

             26.     During     these     appointments,          ROBERT   HADDEN,     the

defendant, repeatedly sexually abused Victim-3 through a course of

conduct that lacked any valid medical purpose.                    For example, during

the majority of Victim-J's prenatal appointments, HADDEN conducted

a breast exam on Victim-3, with one exception when a relative of



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Victim-3 was in the exam room.                  During those breast exams, HADDEN

groped     Victim-3's       breasts      and        touched        her   nipples.       At    an

appointment     in or about          2012,      after Victim-3            had given birth,

HADDEN squeezed Victim-3's nipples to extract breast milk without

a valid medical purpose.

                                         Victim-4

              27.     Victim-4    was     a     patient       of     ROBERT    HADDEN,       the

defendant, from at least in or about 1998 up to and including in

or about 2010.        During the entire period that Victim-4 was HADDEN's

patient,     she resided in New York State but outside of New York

City.     When traveling from her residence to her appointments with

HADDEN,     Victim-4       routinely      crossed       into        another     state    while

traveling     into Manhattan.             HADDEN knew that Victim-4                 traveled

through another state to New York for her appointments.

              28.     After    many      of     Victim-4's          appointments,       ROBERT

HADDEN,    the defendant,        directed Victim-4 to return for her next

appointment         and   provided    instructions            to    Victim-4    on when       to

return.     As a result, Victim-4 traveled through another state to

Manhattan for the purpose of attending appointments with HADDEN on

multiple occasions.

             29 .     During     these        appointments ,         ROBERT    HADDEN,       the

defendant, repeatedly sexually abused Victim-4 through a course of

conduct that lacked any valid medical purpose.                           For example, during

the majority of appointments with Victim-4, HADDEN conducted two



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breast exams.         A nurse was generally present for the first exam.

During the second exam, when a nurse was not present, HADDEN groped

Victim-4's breasts and manipulated her nipples.

              30.     During the majority of appointments with Victim-4,

ROBERT      HADDEN,    the       defendant,          also    conducted    vaginal     exams,

including when Victim-4 was pregnant.                       During those vaginal exams,

HADDEN used his            fingers    to    apply       lubrication directly on           the

outside of Victim-4's vagina.

              31.     In    or    about     2010,      Victim-4        traveled    from   her

residence through another state to Manhattan at the direction of

ROBERT HADDEN, the defendant.                    Victim-4 traveled through another

state to Manhattan exclusively for the purpose of attending her

appointment         with    HADDEN.             During      that    appointment,     HADDEN

administered a vaginal exam,                    during which he licked Victim-4' s

vagina.

                                           Victim-5

              32.     Victim-5       was    a     patient      of     ROBERT   HADDEN,    the

defendant, from at least in or about 2002 up to and including in

or about 2011.        In or about 2003, Victim-5 moved to a state outside

of New York,        where she lived for the remainder of her time as

HADDEN' s    patient.         After    leaving New            York,     Victim-5    remained

HADDEN's patient and traveled from out of state into New York for




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appointments with HADDEN.          HADDEN knew that Victim-5 traveled from

another state to New York for her appointments.

             33.     After many of Victim-5's appointments between 2003

and 2011, ROBERT HADDEN, the defendant, directed Victim-5 to return

for her next appointment and instructed Victim-5 on when to return.

As a     result,   Victim-5     traveled to New York for the purpose of

attending appointments with HADDEN on multiple occasions.

             34.     During     these    appointments,        ROBERT     HADDEN,     the

defendant, repeatedly sexually abused Victim-5 through a course of

conduct that lacked any valid medical purpose.                 For example, during

the majority of appointments with Victim-5,                   HADDEN conducted at

least one breast exam,          including when Victim-5 was pregnant.                At

some     appointments    with     Victim-5,       HADDEN     conducted    two    breast

exams.     In or about 2009, during an appointment after Victim-5 had

given birth, HADDEN conducted a breast exam and squeezed Victim-

S's nipples to extract breast milk without a valid medical purpose.

                                        Victim-6

             35.     Victim-6    was     a    patient   of    ROBERT     HADDEN,     the

defendant,    from at least in or about 2008 up to and including in

or about     2009,    during which time Victim-6              resided     in a     state

outside of New York.          As a result, Victim-6 traveled from another

state to New York for her appointments with HADDEN.                      HADDEN knew




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that Victim-6         traveled from another state to New York for her

appointments.

              36.     After many of her appointments with ROBERT HADDEN,

the defendant,         HADDEN directed Victim-6 to return for her next

appointment and            instructed Victim- 6 on when to                 return.        As   a

result, Victim-6 traveled to New York for the purpose of attending

appointments with HADDEN on multiple occasions.

              3 7.    During at least two appointments,                    ROBERT HADDEN,

the defendant, sexually abused Victim-6 through a course of conduct

that      lacked     any   valid   medical        purpose.      For    example,         HADDEN

conducted breast exams of Victim-6 in which he repeatedly pulled

on and manipulated her nipples without a valid medical purpose.

HADDEN      also     digitally     penetrated        Victim-6    without          any   valid

medical purpose.

                                COUNT ONE
            (Enticement and Inducement to Travel to Engage in
                        Unlawful Sexual Activity}

              The Grand Jury further charges:

              38.     The allegations contained in paragraphs 1 through

37 of this Indictment are repeated and realleged as if fully set

forth within.

              39.     From at least in or about 2010, up to and including

in   or    about     2012,    in   the   Southern      District       of    New    York    and

elsewhere, ROBERT HADDEN, the defendant, knowingly did persuade,

induce, entice, and coerce an individual to travel in interstate



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and foreign commerce to engage in sexual activity for which a

person can be charged with a criminal offense, and attempted to do

the same, to wit, HADDEN persuaded, induced, enticed, and coerced

Minor Victim-1 to travel to New York, New York, from another state

to engage or attempt to engage in unlawful sexual activity with

Minor Victim-1, in violation of New York Penal Law Sections 130.52

and 130.55.

      (Title 18, United States Code, Sections 2422(a) and 2.)

                               COUNT TWO
           (Enticement and Inducement to Travel to Engage in
                       Unlawful Sexual Activity)

            The Grand Jury further charges:

            40.    The allegations contained in paragraphs 1 through

37 of this Indictment are repeated and realleged as if fully set

forth within.

            41.    From at least in or about 2005, up to and including

in   or   about   2012,   in    the   Southern   District   of   New   York   and

elsewhere, ROBERT HADDEN,         the defendant, knowingly did persuade,

induce, entice, and coerce an individual to travel in interstate

and foreign commerce to engage in sexual activity for which a

person can be charged with a criminal offense, and attempted to do

the same, to wit, HADDEN persuaded, induced, enticed, and coerced

Victim-1 to travel to New York, New York,             from another state to

engage    or attempt      to   engage   in unlawful   sexual     activity with




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Victim-1,    in violation of New York Penal Law Sections               13 0. 52,

130.55, and 130.40.

      (Title 18, United States Code, Sections 2422(a) and 2.)

                              COUNT THREE
           {Enticement and Inducement to Travel to Engage in
                       Unlawful Sexual Activity}

            The Grand Jury further charges:

            42.    The allegations contained in paragraphs 1 through

37 of this Indictment are repeated and realleged as if fully set

forth within.

            43.    From at least in or about 1997, up to and including

in   or   about   2012,    in    the   Southern District   of   New   York   and

elsewhere, ROBERT HADDEN,          the defendant, knowingly did persuade,

induce, entice, and coerce an individual to travel in interstate

and foreign commerce to engage in sexual activity for which a

person can be charged with a criminal offense, and attempted to do

the same, to wit, HADDEN persuaded, induced, enticed, and coerced

Victim-2 to travel to New York, New York,              from another state to

engage    or attempt      to    engage   in unlawful   sexual   activity with

Victim-2,    in violation of New York Penal Law Sections 130.52 and

130.55.

      (Title 18, United States Code, Sections 2422(a) and 2.)




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                                 COUNT FOUR
             {Enticement and Inducement to Travel to Engage in
                         Unlawful Sexual Activity}

              The Grand Jury further charges:

              44.   The allegations contained in paragraphs 1 through

37 of this Indictment are repeated and realleged as if fully set

forth within.

              45.    In or about 2012, in the Southern District of New

York and elsewhere,            ROBERT HADDEN,       the defendant,      knowingly did

persuade,      induce,    entice,     and coerce an individual to travel in

interstate and foreign commerce to engage in sexual activity for

which    a    person     can    be   charged      with   a   criminal   offense,   and

at tempted     to   do   the    same,   to   wit,    HADDEN persuaded,       induced,

enticed,     and coerced Victim-3 to travel to New York,                   New York,

from another state to engage or attempt to engage in unlawful

sexual activity with Victim-3, in violation of New York Penal Law

Sections 130.52 and 130.55.

        (Title 18, United States Code, Sections 2422(a) and 2.)

                                COUNT FIVE
             {Enticement and Inducement to Travel to Engage in
                         Unlawful Sexual Activity}

                    The Grand Jury further charges:

              46.   The allegations contained in paragraphs 1 through

37 of this Indictment are repeated and realleged as if fully set

forth within.




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                 47.    From at least in or about 1998, up to and including

in   or    about       2010,    in    the   Southern   District   of   New   York   and

elsewhere, ROBERT HADDEN, the defendant, knowingly did persuade,

induce, entice, and coerce an individual to travel in interstate

and foreign commerce to engage in sexual activity for which a

person can be charged with a criminal offense, and attempted to do

the same, to wit, HADDEN persuaded, induced, enticed, and coerced

Victim-4 to travel to New York, New York, through another state to

engage      or    attempt       to   engage   in unlawful   sexual     activity with

Victim-4,        in violation of New York Penal Law Sections 13 O. 52,

130.55, and 130.40.

      (Title 18, United States Code, Sections 2422(a) and 2.)

                                 COUNT SIX
             (Enticement and Inducement to Travel to Engage in
                         Unlawful Sexual Activity}

                 The Grand Jury further charges:

                 48.    The allegations contained in paragraphs 1 through

37 of this Indictment are repeated and realleged as if fully set

forth within.

                 49.    From at least in or about 2003, up to and including

in   or    about       2 011,   in   the    Southern   District   of   New   York   and

elsewhere, ROBERT HADDEN,               the defendant, knowingly did persuade,

induce, entice, and coerce an individual to travel in interstate

and foreign commerce to engage                  in sexual activity for which a

person can be charged with a criminal offense, and attempted to do



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the same, to wit, HADDEN persuaded, induced, enticed, and coerced

Victim-5 to travel to New York, New York,                from another state to

engage    or    attempt      to   engage   in unlawful   sexual     activity with

Victim-5, in violation of New York Penal Law Sections 130.52 and

130.55.

      (Title 18, United States Code, Sections 2422(a) and 2.)

                              COUNT SEVEN
           (Enticement and Inducement to Travel to Engage in
                       Unlawful Sexual Activity}

               The Grand Jury further charges:

               50.    The allegations contained in paragraphs 1 through

37 of this Indictment are repeated and realleged as if fully set

forth within.

               51.    From at least in or about 2008, up to and including

in   or   about      2009,   in    the   Southern   District   of   New   York   and

elsewhere, ROBERT HADDEN,            the defendant, knowingly did persuade,

induce, entice, and coerce an individual to travel in interstate

and foreign commerce to engage in sexual activity for which a

person can be charged with a criminal offense, and attempted to do

the same, to wit, HADDEN persuaded, induced, enticed, and coerced

Victim-6 to travel to New York, New York,                from another state to

engage    or attempt         to   engage   in unlawful   sexual     activity with

Victim-6, in violation of New York Penal Law Sections 130.52 and

130.55.

      (Title 18, United States Code, Sections 2422(a) and 2.)



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                               FORFEITURE ALLEGATION

              52.     As a result of committing the offenses alleged in

Counts One through Seven of this Superseding Indictment,                    ROBERT

HADDEN, the defendant, shall forfeit to the United States, pursuant

to   Title    18,     United   States   Code,    Section     2428,   any   and   all

property, real and personal, constituting or derived from proceeds

obtained,     directly or indirectly,          as a result of said offenses;

and any and all property,            real     or personal,    that was used or

intended to be used to commit or facilitate the commission of said

offenses,     including but not limited to a sum of money in United

States currency representing the amount of property involved in

said offense and proceeds           traceable     to the     commission of       said

offenses.

                          Substitute Asset Provision

             53.      If any of the above-described forfeitable

property, as a result of any act or omission of the defendant:

                    (a) cannot be located upon the exercise of due

diligence;

                    (b) has been transferred or sold to, or deposited

with, a third person;

                    (c) has been placed beyond the jurisdiction of the

Court;

                    (d) has been substantially diminished in value; or

                    (e) has been commingled with other property which



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cannot be subdivided without difficulty ;

it is the intent of the United States , pursuant to 21 U. S . C.

§ 853(p) and 28 U. S . C . § 2461(c) , to seek forfeiture of any

other property of said defendant up to the value of the above

forfeitable property .

   (Title 18 , United States Code , Sections 981 , 2428 ; Title 21 ,
                United States Code , Section 853 ; and
           Title 28 , United States Code , Section 2461 . )




                                        United      es Attorney




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           Form No. USA-33s-274            (Ed. 9-25-58)




               UNITED STATES DISTRICT COURT
              SOUTHERN DISTRICT OF NEW YORK


                 UNITED STATES OF AMERICA

                                   v.

                         ROBERT HADDEN,

                                                 Defendant.


                  SUPERSEDING INDICTMENT

                      Sl 20 Cr. 468 (RMB)

                (18   u . s.c .   §§    2422(a), 2.)


                      AUDREY STRAUSS
                  United States Attorney




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